                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE

MAKEBA LITTLE,                                 )
                                               )
        Plaintiff,                             )
                                               )
v.                                             )              No. 2:20-cv-00017
                                               )
CROSSVILLE, INC.,                              )
                                               )
        Defendant.                             )


     MOTION TO ACCEPT LATE FILING DUE TO TECHNICAL DIFFICULTIES

        Comes now the Defendant Crossville, Inc., by and through counsel, and pursuant to Rule

6(b)(1)(B), requests that this Honorable Court allow the filing of the Motion for Summary

Judgment, Memorandum in Support, Statement of Material Undisputed Facts and Exhibits which

were filed a few hours late.

        In support whereof, Defendant would state unto the Court that she attempted to file said

documents on Friday August 27, 2021 but had difficulties accessing the court’s electronic filing

system. Because the difficulties arose after business hours, she was unable to obtain assistance

but located her assistant’s ECF manual and was finally able to get the documents filed on another

but at midnight and after. The late filings will not impact any other deadlines in this matter as they

were submitted to the opposing party via the electronic system in the wee hours of August 28 and

only a few hours late.

        Wherefore, for the foregoing reasons, the undersigned requests that this Honorable Court

allow the late filings.



        Respectfully Submitted, this the 28th day of August, 2021.



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                                             s/Mary Dee Allen
                                             Mary Dee Allen, BPR #15614
                                             For Wimberly Lawson Wright Daves
                                             & Jones, PLLC
                                             1420 Neal Street, Suite 201
                                             P.O. Box 655
                                             Cookeville, Tennessee 38503-0655
                                             (931) 372-9123

                                             Attorney for Crossville, Inc.




                                CERTIFICATE OF SERVICE

        I, hereby certify on August 28, 2021, a copy of the foregoing Motion to Accept Late Filing
was filed electronically. Notice of this filing will be sent by operation of the court’s electronic
filing system to Susan M. Palmer, Attorney for Plaintiff, P.O. Box 219, Franklin, TN 37065.
Parties may access this filing through the Court’s electronic filing system.



                                             /s/Mary Dee Allen
                                                          Mary Dee Allen




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